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        EXHIBIT A
    Case 1-19-45418-cec Doc 27 Filed 11/21/19 Entered 11/22/19 15:00:05
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 In re:
                                                   Chapter 13
 CARLOS SEGARRA,
                                                   Case No. 19-45418 (CEC)
                                 Debtor.


                          ORDER DISMISSING CHAPTER 13 CASE

          WHEREAS, on September 10, 2019, Carlos Segarra (the “Debtor”), filed a voluntary

petition under Chapter 13 of Title 11 of the United States Code (“Bankruptcy Code” or the

“Code”);

          WHEREAS, on November 20, 2019, the Debtor’s attorneys, Morrison Tenenbaum PLLC,

filed a Motion for Voluntary Dismissal and now seeks the entry of an order dismissing this case

pursuant to section 1307(b) of Title 11 of the Bankruptcy Code, and; now it is therefore

          ORDERED, that the Debtor’s Chapter 13 petition, Case No. 18-13992 (CGM) 19-45418

(CEC) is hereby DISMISSED pursuant to section 1307(b) of the Bankruptcy Code.




                                                              ____________________________
 Dated: Brooklyn, New York                                            Carla E. Craig
        November 21, 2019                                     United States Bankruptcy Judge
            Case 1-19-45418-cec Doc 27-1 Filed 11/21/19 Entered 11/22/19 15:00:05
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 Information to identify the case:
 Debtor 1              Carlos Segarra                                                Social Security number or ITIN   xxx−xx−6908
                       First Name   Middle Name    Last Name                         EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                            Social Security number or ITIN _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)
                                                                                     EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court             Eastern District of New York
                                                                                     Date case filed for chapter 13 9/10/19
 Case number:          1−19−45418−cec




                                                  NOTICE OF DISMISSAL OF CASE
NOTICE IS HEREBY GIVEN THAT:

The above−named debtor(s) having filed a Chapter 13 petition in bankruptcy on September 10, 2019, and an order
having been signed by the Honorable Carla E. Craig, United States Bankruptcy Judge, on November 21, 2019 for the
dismissal of said petition.

You are notified that the petition of the above−named debtor(s) has been dismissed.

Notice is further given that if there are any outstanding filing fees due, they must be paid in full to the Clerk of Court
upon receipt of this notice.

 Dated: November 22, 2019


                                                                           For the Court, Robert A. Gavin, Jr., Clerk of Court




BLnod.jsp [Notice of Dismissal rev. 03/07/17]
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                                                       Notice Recipients
District/Off: 0207−1                          User: cteutonic                       Date Created: 11/22/2019
Case: 1−19−45418−cec                          Form ID: 227                          Total: 28


Recipients of Notice of Electronic Filing:
aty         Lawrence Morrison           lmorrison@m−t−law.com
                                                                                                                         TOTAL: 1

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Carlos Segarra         24−28 95th Street, FL 1         East Elmhurst, NY 11369
tr          Michael J. Macco          2950 Express Drive South           Suite 109      Islandia, NY 11749
smg         Office of the United States Trustee         Eastern District of NY (Brooklyn Office)        U.S. Federal Office
            Building        201 Varick Street, Suite 1006          New York, NY 10014
9721679     Carolina Guerrero         c/o Ackerman Fox LLP             90 Merrick Ave Suite 400        East Meadow NY
            11554         Attn: Kamini Fox, Esq
9636171     Carolina Guerrero         c/o Mohammed Gangat              27005 79 Avenue        New Hyde Park NY
            11040−0000
9730094     DEUTSCHE BANK NATIONAL TRUST COMPANY as Trustee                             PHH Mortgage Corporation          Attn:
            Bankruptcy Department           PO Box 24605            West Palm Beach, FL 33416−4605
9733047     Deutsche Bank National Trust Company              c/o RAS Boriskin, LLC         900 Merchants Concourse, Suite
            310        Westbury, NY 11590
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9710737     JPMorgan Chase Bank, N.A.             s/b/m/t Chase Bank USA, N.A.          c/o Robertson, Anschutz & Schneid,
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9696005     JPMorgan Chase Bank, National Association              c/o McCalla Raymer Leibert Pierce, LLC         420 Lexington
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9636170     NYS Dept. of Tax and Fin.           Bankruptcy Section          PO Box 5300        Albany NY 12205−0000
9693281     New York State Department of Taxation & Finance               Bankruptcy Section       P O Box 5300         Albany New
            York 12205−0300
9715534     On Deck Capital, Inc.         c/o Christine Levi         101 West Colfax Ave., 10th Floor        Denver, CO
            80202
9726069     Portfolio Recovery Associates, LLC            c/o The Home Depot         POB 41067          Norfolk VA 23541
                                                                                                                        TOTAL: 27
